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                       UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF PENNSYLVANIA


DOUGLAS S. CHABOT, et al.,  ) Civ. Action No. 1:18-cv-02118-JPW
Individually and on Behalf of All
                            )
Others Similarly Situated,  ) CLASS ACTION
                            )
                Plaintiffs, ) LEAD PLAINTIFFS’ UNOPPOSED
                            ) MOTION FOR PRELIMINARY
      vs.
                            ) APPROVAL OF CLASS ACTION
                              SETTLEMENT
WALGREENS BOOTS ALLIANCE, )
INC., et al.,               )
                            )
                Defendants. )
                            )




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         Lead Plaintiffs Douglas S. Chabot and Corey M. Dayton, by and through their

undersigned attorneys, upon the accompanying Memorandum of Law, the Stipulation

of Settlement and Exhibits, and Declaration of David A. Knotts, hereby move the

Court for an order: (1) granting preliminary approval of the proposed settlement;

(2) approving the form and manner of giving notice of the proposed settlement to the

Class; and (3) setting a hearing date for final approval thereof, and a schedule for

various deadlines relevant thereto.

DATED: October 18, 2023               Respectfully submitted,

                                      ROBBINS GELLER RUDMAN
                                       & DOWD LLP
                                      RANDALL J. BARON
                                      A. RICK ATWOOD, JR.
                                      DAVID A. KNOTTS
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                                  CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on October 18, 2023, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the email addresses on the attached Electronic Mail Notice List,

and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                  s/ David A. Knotts
                                                  DAVID A. KNOTTS

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Mailing Information for a Case 1:18-cv-02118-JPW Chabot et al v. Walgreens Boots Alliance,
Inc. et al
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish
to use your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.
Mason Capital Master Fund, L.P.
,

Recovery Master, LLC
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